GROUP EXHIBIT 1
Certificate of Registration
                         This Certificate issued under the seal of the Copyright
                         Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has    Registration Number
                         been made a part of the Copyright Office records.            VA      2 152 055

                                                                                      Effective Date of Registration:
                                                                                      May 17, 2019

                         Unit
                           “ States Register of Copyrights and Director




   Title

                            Title of Work:      Gothic Prayer

                         Nature of Claim:       Lithographic print

   Completion/Publication
                  Year of Completion:           2008
               Date of Ist Publication:         January 31, 2008
             Nation of 1 Publication:           United Kingdom

   Author

                     °              Author:     Anne Stokes
                          Author Created:      . 2-Dimensional artwork
                   Work made for hire:          No
                                 Citizen of:    United Kingdom
                                Year Born:      1972
                              Anonymous:        No
                           Pseudonymous:        No


   Copyright Claimant

                   Copyright Claimant:          Anne Stokes
                                                1 Nunwood House, Apperley Lane, Apperley Bridge,, Bradford, BD10 OPB,
                                                United Kingdom

   Limitation of copyright claim

               Previously registered:           No


   Certification

                                     Name:      Michael A. Hierl
                                      Date:     May 16, 2019



                                                                                                                  Page | of 2
                       SSeS i tee
                 weap eae




                                                                                                                                                                   i eS
                                                                                                                                                             Lee




                                        eon
                                                                                                                             Corres pond lence:




                                         Dos


                                     sol,
                                    ee het




                                                               eras
                                                                                                           R egardrding'pu blica




                                                                                                              c.
                                                                                                              Oo
                                                                                                              r=!
                                                                                                              b
                                                                                                              te: ofp




                                                                                   eo      ae
                                                                                                                         ‘i




                                                                              ee        te,
                                                                                         ne ’
                                                ate   ee                                Lear
                                                 PN   ee, i.
                                                                                                             oe
                                                                                                          bl icati
                                                                                                              n=1




                                                                                                Se   Ny
                                                                                                            a n'a




wee Ne       .
                                                                                                                                   \




     wood”               :              cpt
    ee ye,                   -          gr ke
 es
                                                                                                              xim ation




                                                                Seat   eyoe




                                                                                                                                                  aN re
                                                                                                                                                      . Bi
                           oO    SS)
Gothic Prayer poster.tif    <I Pct
Certificate of Registration
                                                                                                                                Ea
                         This Certificate issued under the seal of the Copyright
                         Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has
                                                                                      Registration Number
                         been made a part of the Copyright Office records.
                                                                                      VA 2-152-057
                           tp B Legh
                         Unit
                           “Z..States Register of Copyrights and Director
                                                                                      Effective Date of Registration:
                                                                                      May 17, 2019




   Title

                            Title of Work:      Blue Moon

                         Nature of Claim:       Lithographic print

   Completion/Publication
                   Year of Completion:          2016
              Date of Ist Publication:          February 29, 2016
             Nation of 1° Publication:          United Kingdom

   Author

                     °            Author:        Anne Stokes
                          Author Created:      — 2-Dimensional artwork
                   Work made for hire:          No
                                 Citizen of:    United Kingdom
                                Year Born:      1972
                              Anonymous:        No
                           Pseudonymous:        No


   Copyright Claimant

                   Copyright Claimant:         — Anne Stokes
                                                 1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                 United Kingdom

   Limitation of copyright claim

               Previously registered:           No


   Certification

                                     Name:      Michael A. Hierl
                                      Date:     May 16, 2019



                                                                                                                  Page 1 of 2
 ‘aNS
bot
                                                                                              ~t
                                                                                              PR   Tete
                                            aes
                                           é,
                                                                                                               -t
                                                                                                              as Scand
                                                                                                                  ,
                                                                                   Poy
                                                                                we rie
                                                                                      ¥
                                                                          ilo
                                                                     Sara eee
                                                                            :
                      on: The d at
                r “e




                          pa}
                    fe




                          ics
                           &
               .Regardingp ubl
                  ight Offi ice not es 2




                                                                                          :        .      .       seeOe Ne    .
                                                             !   :
                                                  See eres
                                                    rane!
        Ce o) r * p01nd                                                                                            oe    a.
Blue Moon.psd
Certificate of Registration




                                                                                                                               eee
                         This Certificate issued under the seal of the Copyright
                         Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has   Registration Number
                         been made a part of the Copyright Office records.
                                                                                     VA 2-152-045
                                                                                     Effective Date of Registration:
                                                                                     May 17, 2019

                         7       States Register of Copyrights and Director




   Title

                           Title of Work:      Dark Hearts

                         Nature of Claim:      Lithographic print

   Completion/Publication
                  Year of Completion:          2012
               Date of Ist Publication:        March 31, 2012
             Nation of 1** Publication:         United Kingdom

   Author

                     °          Author:         Anne Stokes
                       Author Created:        © 2-Dimensional artwork
                   Work made for hire:          No
                             Citizen of:      | United Kingdom
                            Year Born:          1972
                           Anonymous:           No
                        Pseudonymous:           No


   Copyright Claimant

                   Copyright Claimant:         Anne Stokes
                                               1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                               United Kingdom

   Limitation of copyright claim

               Previously registered:          No



   Certification

                                    Name:      Michael A. Hierl
                                     Date:     May 16, 2019



                                                                                                                 Page | of 2
                                                                              eoee®



                                                                                                             eet A
                                                                                                 r    ‘.4
                                                                                                wee een                  ee
                                                                                                                     f




                                                               ~  ob    dD                 be
                                                              wees     eae}           .   aS
                                                                                                                                         righ t! Office
                                                                                                                                               Régard ng publi




                                                                                                                                              a
                                                                                                                                              4
                                                                                                                         peor                 2.
                                                                                                                     aN    ee                 °o
                                                                                                                        hohe                  s
                                                                                                                                               The
                                                                                                                                                                      ,




                ae     ie       by               4.   :   .            he      ah
                eign        e    5   :                           PE           adc
                                                                                                                                              ‘0.




                                                                                                                    rs
                                                                                                                   PrN
                                                                                                                                                               -¢




                                                                                                                              sa ats
                                                                                                      .                          fs
                                                                                                     eye      ee
                                                                                                        ae




tle    Nee
 for    tb
          Pie




                                           t
                                         Parra
                                                                                                                                       f publicIcat ion is an‘a PP. roximat ion.
               se)n
                a.
               AS)




Sad eyes.psd
               oO
               5a
                ®©
               a
               =
                @
               a)
Certificate of Registration
                        This Certificate issued under the seal of the Copyright
                        Office in-accordance with title 17, United States Code,
                        attests that registration has been made for the work
                        identified below. The information on this certificate has   Registration Number
                        been made a part of the Copyright Office records.
                                                                                    VA 2-152-048
                                                                                    Effective Date of Registration:
                                                                                    May 17, 2019

                        Unit
                          vA States Register of Copyrights and Director




   Title
                          Title of Work:     — Protector

                        Nature of Claim:       Lithographic print

   Completion/Publication
                 Year of Completion:           2013
              Date of Ist Publication:         November 30, 2013
            Nation of 1% Publication:          United Kingdom

   Author

                    °         Author:          Anne Stokes
                      Author Created:        | 2-Dimensional artwork
                  Work made for hire:          No
                              Citizen of:     United Kingdom
                             Year Born:       1972
                            Anonymous:        No
                         Pseudonymous:        No

   Copyright Claimant

                  Copyright Claimant:         Anne Stokes
                                              1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                              United Kingdom

  Limitation of copyright claim

              Previously registered:          No


  Certification

                                   Name:      Michael A. Hier]
                                     Date:    May 16, 2016




                                                                                                               Page | of 2
                      Co pyrig ht   ffice not eS%.   Reg: ard ing         ‘Thedi ale o publ ication. i s‘an app roximal tion




                                                                    co.
                                                                    iz)

                                                                    fo]
          ! ws




                                                                    SS

                                                                    s
                 oe
                 nr
                  t




                                                                                                                      Cae
                                                                                                                     poo
                                                      ee, ee,
                                                     ee




                                                                                                                               oe eee
                                                                                                                                    ee
                                                                                                                                  :  ee
   1
eet,
   Lote
AN
                go
Protector.tif    “TRCN8
Certificate of Registration




                                                                                                                             iia
                        This Certificate issued under the seal of the Copyright
                        Office in accordance with title 17, United States Code,
                        attests that registration has been made for the work
                        identified below. The information on this certificate has   Registration Number
                        been made a part of the Copyright Office records,
                                                                                    VA 2-152-065
                          tp 4 Logo
                        Unit
                          v4States Register of Copyrights and Director
                                                                                    Effective Date of Registration:
                                                                                    May   17, 2019




   Title

                          Title of Work:      Summon the Reaper

                        Nature of Claim:      Lithographic print

   Completion/Publication
                 Year of Completion:          2009
              Date of Ist Publication:        August 31, 2009
            Nation of 1*' Publication:        United Kingdom

   Author

                    °          Author:        Anne Stokes
                      Author Created:         2-Dimensional artwork
                  Work made for hire:         No
                            Citizen of:       United Kingdom
                           Year Born:         1972
                          Anonymous:          No
                       Pseudonymous:          No

   Copyright Claimant

                  Copyright Claimant:         Anne Stokes
                                              1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                              United Kingdom

   Limitation of copyright claim

              Previously registered:          No



  Certification

                                   Name:      Michael A. Hier]
                                    Date:     May 16, 2019




                                                                                                               Page 1 of 2
                                  Yes.               ;                                          ;       a        ,          |
           Correspondence:
wd * Copyright Office notes: | Regarding, publication: The application listed
                                                                       i      the date of publication with month
                                   and year only.. Correspondence from applicant sStates to amend the date of |
                                publication to show the last day of the given. month as thé date of first’
                                 ’ publication. We attempted to: discover the. Precise day of: the month’ before fi ling,
                                  but were unable to.do so.”




                                                                                                        a     Page 2 of 2
Certificate of Registration
                                                                                                                               i
                         This Certificate issued under the seal of the Copyright
                         Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has   Registration Number
                         been made a part of the Copyright Office records.
                                                                                     VA 2-152-061
                           tp 4 Legh
                         Unit
                           7    aStates Register of Copyrights and Director
                                                                                     Effective Date of Registration:
                                                                                     May 17, 2019




   Title

                           Title of Work:      Spirit Guide

                         Nature of Claim:       Lithographic print

   Completion/Publication
                   Year of Completion:          2011
               Date of Ist Publication:         April 30, 2011
             Nation of 1* Publication:          United Kingdom

   Author

                     °          Author:        Anne Stokes
                       Author Created:         2-Dimensional artwork
                   Work made for hire:         No
                             Citizen of:       United Kingdom
                            Year Born:         1972
                           Anonymous:          No
                        Pseudonymous:          No


   Copyright Claimant

                   Copyright Claimant:         Anne Stokes
                                               1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                               United Kingdom

   Limitation of copyright claim

               Previously registered:          No



   Certification

                                     Name:     Michael A. Hierl
                                      Date:    May 16, 2019


                                                                                                                 Page 1 of 2
                                                                           ete      Me
                                                                              tod




                                                                                         eo ate        Niet
                                                                                            te            {




’2
ge   Se




               i ee   . Shae
          SN
           N




                                                                     t
                                                             we   Ne Mee
                                                                                                 o
                                                                                          at 1on,._.




                                        .   ea   ‘
                               er ‘    tee cee       WALt:
                                 Oar      :            eel
                                 ew Re ett
                                     $
Certificate of Registration
                        This Certificate issued under the seal of the Copyright
                        Office in accordance with title 17, United States Code,
                        attests that registration has been made for the work
                        identified below. The information :  on this certificate has   Registration Number
                        been made a part of the Copyright Office records.
                                                                                       VA 2-152-064
                                                                                       Effective Date of Registration:
                                                                                       May 17, 2019

                        sae     States Register of Copyrights and Director




   Title

                          Title of Work:       Angel Rose

                        Nature of Claim:       Lithographic print

   Completion/Publication
                  Year of Completion:          2009
              Date of 1st Publication:         March 31, 2009
            Nation of 1°' Publication:         United Kingdom

   Author

                    °             Author:      Anne Stokes
                      Author Created:         | 2-Dimensional artwork
                  Work made for hire:           No
                              Citizen of:      United Kingdom
                             Year Born:        1972
                            Anonymous:         No
                         Pseudonymous:         No

   Copyright Claimant

                  Copyright Claimant:          Anne Stokes
                                               1 Nunwood House, Apperley Lane, Apperley Bridge, BRADFORD, BD10 OPB,
                                               UK

   Limitation of copyright claim

              Previously registered:           No



  Certification

                                    Name:     Michael A. Hied
                                     Date:    May 16, 2019




                                                                                                                  Page | of 2
yee eee
 Cuero’
                                                                                                     BN aha   es
                                                                De   ge eae te
                                                                               t
                                                                           Dae se
            of
         The date




                                       ea
                                       Tie       Ne,
                                                   my
    te




                                                 oN   es
                      ,
                     eating ott              :                       i
                                                                     ey eee
                       wot                                             roe
                                                                                     woe
                                                                                    Ne     sae los
                    Ape   te's
                                  io             a
                                       im                  r.
                                                                                                                    r      :
                                                                                                                   Natt    Ne,
                                                                                                                          Pore
                        4          8
Angel Rose poster.tif       ¢] E cty
Certificate of Registration
                         This Certificate issued under the seal of the Copyright
                         Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has   Registration Number
                         been made a part of the Copyright Office records.
                                                                                     VA 2-152-063
                           tp 4 Legh
                         Unit
                           “7 States Register of Copyrights and Director
                                                                                     Effective Date of Registration:
                                                                                     May 17, 2019




   Title

                            Title of Work:      Kindred Spirits

                          Nature of Claim:      Lithographic print

   Completion/Publication
                   Year of Completion:          2008
               Date of 1st Publication:         March 31, 2008
             Nation of 18 Publication:          United Kingdom

   Author

                     °         Author:           Anne Stokes
                       Author Created:         | 2-Dimensional artwork
                   Work made for hire:           No
                                 Citizen of:    United Kingdom
                                Year Born:      1972
                              Anonymous:        No
                           Pseudonymous:        No

   Copyright Claimant

                   Copyright Claimant:          Anne Stokes
                                                1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                United Kingdom

   Limitation of copyright claim

               Previously registered:           No



   Certification

                                     Name:      Michael A. Hier]
                                      Date:     May 16, 2019




                                                                                                                 Page | of 2
                              oN
                             SONY            na4
                                        3]
                                                                                                                 :             cn
                                    .                        :               .        wt        ves                      Pn     ers
       oe
                                                                                       pew sets yl. te      C4                  nthe
                     ,   y                                                            inte    eae                                        poy
 eee oge        Be                                                                                                                       a   :  >
                                                                                                                     .        att
                                                                                                                                    r
                                                                                                                                        tp eR Ne
 yt
ones        &
                                                                                                                                                           oe
                                                                                                                                                    Pea!
                                                                                                                                                    Tay
                                                                 urcanrins       .
                                                            eM      ea               pes
                                                       io   :
                                                        hee
                                                        t   oF
                                                                                                      chy
                                                                                                      ro.
                                                                                                                                                           M        we   bot
                                                                                                                                                          sly     eh a ase
                                                     oars                                   ;
                               robot               yes                               qty        tes
                             ey asec
                                                                                                                                                                ate      carte
                                                                                                                                                                 fa        :
                                                                                                                                                          NAN   Hees
                     aka Kindred
                       Spirits




Kindred Spirits.tf         “Tp cw
Certificate of Registration
                         This Certificate issued under the seal of the Copyright
                         Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has   Registration Number
                         been made a part of the Copyright Office records,
                                                                                     VA 2-152-068

                           tm 4 Ligh—
                         Unit
                           waStates Register of Copyrights and Director
                                                                                     Effective Date of Registration:
                                                                                     May 17, 2019




   Title

                            Title of Work:      Enchantment

                         Nature of Claim:       Lithographic print

   Completion/Publication
                   Year of Completion:          2016
               Date of Ist Publication:         September 30, 2016
             Nation of 1° Publication:          United Kingdom

   Author

                     °         Author:           Anne Stokes
                       Author Created:         | 2-Dimensional artwork
                   Work made for hire:           No
                                 Citizen of:    United Kingdom
                                Year Born:      1972
                              Anonymous:        No
                           Pseudonymous:        No


   Copyright Claimant

                   Copyright Claimant:          Anne Stokes
                                                1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                United Kingdom

   Limitation of copyright claim

                Previously registered:          No



   Certification

                                     Name:      Michael A. Hierl
                                      Date:     May 16, 2019



                                                                                                                 Page | of 2
    oo Correspondence:         Yes         ;                               :
»   Coperight Office notes: ~ Regarding publication: The application listed the’ ate of publication with month’
                              -and year only. -Correspondence from. applicant ‘States: to.amend ‘the date of.
      -      ; be    pe        “publication "to'show. the last. day of the’ given: month as the date’ of |first’       :
                      _   °»   «publication. We attempted to discover the precise day'eof the month before fing, .
                                but were unable to, ‘do so."




                                                                                                          "Page
                                                                                                              2 of 2
Certificate of Registration
                        This Certificate issued under the seal of the Copyright
                        Office in accordance with title 17, United States Code,
                        attests that registration has been made for the work
                        identified below. The information on this certificate has    Registration Number
                        been made a part of the Copyright Office records.
                                                                                     VA 2-152-067
                          tp. Plog
                        Unit
                          a States Register of Copyrights and Director
                                                                                     Effective Date of Registration:
                                                                                     May 17, 2019




   Title

                          Title of Work:       Aracnafaria

                        Nature of Claim:       Lithographic print

   Completion/Publication
                  Year of Completion:          2009
              Date of Ist Publication:         April 30, 2009
            Nation of 1*t Publication:         United Kingdom

   Author

                    °         Author:           Anne Stokes
                      Author Created:         | 2-Dimensional artwork
                  Work made for hire:           No
                                Citizen of:    United Kingdom
                              Year Born:       1972
                            Anonymous:         No
                         Pseudonymous:         No

   Copyright Claimant

                  Copyright Claimant:          Anne Stokes
                                               1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                               United Kingdom

   Limitation of copyright claim

              Previously registered:          No


  Certification

                                   Name:      Michael A. Hied
                                     Date:    May     16, 2019




                                                                                                                Page | of 2
         Correspondence:     Yes
~ "Copyright om
              © ice notes:    Regarding publication: The application listed
                                                                     1      the date of publication with month |
                             _and year only.. Correspondence from applicant States to amend the date of
                             _ publication “to show the last day of the given month.as the date of first
                              publication. We auempted to discover the precise day of the month: before filing, -
                              but were unable to.do so.”                 ;




                                                                                                           Page 2 of 2
Aracnafaria poster.tif
Certificate of Registration
                         This Certificate issued-under the seal of the Copyright
                         Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has   Registration Number
                         been made a part of the Copyright Office records.
                                                                                     VA 2-152-058
                           tp 4 Legh
                         Unit
                           “Z States Register of Copyrights and Director
                                                                                     Effective Date of Registration:
                                                                                     May 17, 2019




   Title

                            Title of Work:      Dragonkin

                         Nature of Claim:       Lithographic print

   Completion/Publication
                   Year of Completion:          2012
              Date of Ist Publication:          November 30, 2012
            Nation of 15 Publication:           United Kingdom

   Author

                     °            Author:       Anne Stokes
                          Author Created:       2-Dimensional artwork
                   Work     made for hire:      No
                                 Citizen of:    United Kingdom
                                Year Born:      1972
                              Anonymous:        No
                           Pseudonymous:        No


   Copyright Claimant

                   Copyright Claimant:          Anne Stokes
                                                1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                United Kingdom

   Limitation of copyright claim

               Previously registered:           No



   Certification

                                     Name:     Michael A. Hier]
                                      Date:    May 16, 2019



                                                                                                                 Page | of 2
                                                                         .     ees
                                                                          eh ws
                                                                        welt
     if               :
at   A    a Ne   ie
                                                                                                                                tye   ee
                                                                               Li 3
                                                                             Porn
                                                                             ye
                                            Of-p




                                                                                                                                                                     se Soe as
                                            ublication:




                                                                                                                     Oa   aes
                                                                   ;
                                             gard
                                        ght Offi ice0 i es es.




                                                                                                            ees
                                                                                                              rest
                                                                                                                                                         sae y Nee
          Bot             :
          rn                  rns
            Pe
                                                                 sete
                                                                  EY
                                                                                 wit      ot ante
                                                                                     st
                                                                                                    Nes e
                                                                                                    Ty
                                                                                                                                               ;    ey
                                                                                                                                           2 sate
                                       1
                                    ‘ are                                                                                                       ”
Certificate of Registration
                        This Certificate issued under the seal of the Copyright
                        Office in accordance with title 17, United States Code,
                        attests that registration has been made for the work
                        identified below. The information on this certificate has
                                                                                    Registration Number
                        been made a part of the Copyright Office records.
                                                                                    VA 2-152-019
                          tp Fo Legh
                        Unitéd States Register of Copyrights and Director
                                                                                    Effective Date of Registration:
                                                                                    May 17, 2019




   Title

                          Title of Work:       Spell Weaver

                        Nature of Claim:       Lithographic print

   Completion/Publication
                 Year of Completion:           2018
              Date of Ist Publication:         February 28, 2018
            Nation of 1* Publication:          United Kingdom

   Author

                    °          Author:         Anne Stokes
                      Author Created:        | 2-Dimensional artwork
                  Work made for hire:          No
                            Citizen of:        United Kingdom
                           Year Born:          1972
                          Anonymous:           No
                       Pseudonymous:           No

   Copyright Claimant

                  Copyright Claimant:         Anne Stokes
                                              1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                              United Kingdom

   Limitation of copyright claim

              Previously registered:          No


  Certification

                                   Name:      Michael A. Hier
                                     Date:    May 16, 2019




                                                                                                               Page | of 2
                                                                ‘        :
                                                              eh    ee
                                                                                                                                                                       go
                                                                                                                                                                       Ss   a
                                                                             TN   Nine   tee                              :                      ‘
                                                                                                                                                       yey
                                                                                                                                                       ae        NS‘
                                                                                         Mee
                                                                                          wo
                                                                                         Tes  gp .
                                                                                                   .          °        fo
                                                                                             ale                      hase         8
                                                                                                                                                             :
                                                                                                                                        fot
                                                                                                                                       oy Sees
                                                                                                                                           Spy
                                                                                                  DE    aN aca
                                                                                                       Ms
                                        late;oof publi




                                                                                                                      a       ee
                                                                                                                  ,
                                                         Vt N eeN e
                                             J
                                             2
                                         ca ition:
                           orres pon dence
                                 note    ht Offi cen
                           rok
                           ‘
                           Cc

                                        Co PYF:
                           ae
                                                                                                                                                      yo
                                                                                                                                                     lew ete
                                                                                                                                                     tof
                                                                                                                                                       aes
                                                                                                 aN    tye'
 :   1   .
nee   et
    foror
             aN    aesoe
                  Loy
                   potNe
Spell weaver.psd
Certificate of Registration
                     This Certificate issued under the sealbof the Copyright
                     Office in acoordance with tith 17, United Sraces Cade,
                     altesis that registration has Seen made for the work
                     identified below, The information on this certificate has    Registration Number
                     been made a part of the Copyright Office records.            VA      2-261-829

                                                                                  Effective Date of Revistration:
                           tia              (Vib     pile                         July 13, 202)
                                                                                  Revistration Decision Date:
                     United States Register of Copyrights and Director            August 04, 2021




   Title

                          Tithe of Work:     Awake Your Magic


   Completion/Publication
                 Year of Completion:         2015
              Date of 1st Publication;       Mareh 01,2015
            Nation of ' Publication:         United Kingdom

   Author

                     °           Author:     Anne Stokes
                         Author Created;    — 2-D artwork
                              Citizen of:    United Kingdom

   Copyright Claimant

                   Copyright Claimant:       Anne Stokes
                                             } Noawood House, Apperley Lane, Apperley Bridge. Bradford, BD      OPR.
                                             United Kingdom




   Certification
                                  Name:      Paul Svarcia-Schee!
                                   Date:     July 13,2021




                                                                                                                Page   lof]
Awake Your Magic
   COPY OF
REGISTRATION

  VA 2-272-364
                                                                                 Registration Number

                                                                                 VA 2-272-364
                                                                                 Effective Date of Registration:
                                                                                 September 14, 2021
                                                                                 Registration Decision Date:
                                                                                 October 20, 2021




Title

                         Title of Work:     Rock God


Completion/Publication
                Year of Completion:         2008
            Date of Ist Publication:        March 01, 2008
          Nation of 1" Publication:         United Kingdom

Author

                   e            Author:     Anne Stokes
                       Author Created:      2-D artwork
                             Citizen of:    United Kingdom

Copyright Claimant

                Copyright Claimant:         Anne Stokes
                                            1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                            United Kingdom




Certification

                                   Name:    Anna Katharina Reiter
                                    Date:   September 14, 2021
ener            eee e eee e reer   rece                                           en




                                                                                                             Page | of |
                       Registration #:   VA0002272364
                   Service Request #:    1-10837214191




New Alchemy Solutions Ltd.
Anna Katharina Reiter
Room 918, 9/F Nan Fung Centre 264-298 Castle Peak Road
Tsuen Wan
Hongkong, NT 00000
© Anne Stokes\   www.agnestokes.com
   COPY OF
REGISTRATION
  VA 2-272-273
                                                                               Registration Number

                                                                               VA 2-272-273
                                                                               Effective Date of Registration:
                                                                               September 14, 2021
                                                                               Registration Decision Date:
                                                                               October 20, 2021




Title

                       Title of Work:     Final Verdict


Completion/Publication
               Year of Completion:        2007
            Date of Ist Publication:      March 01, 2007
          Nation of 1* Publication:       United Kingdom

Author

                  °           Author:     Anne Stokes
                      Author Created:     2-D artwork
                            Citizen of:   United Kingdom

Copyright Claimant

                Copyright Claimant:       Anne Stokes
                                          1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                          United Kingdom




Certification

                                Name:     Anna Katharina Reiter
                                 Date:    September 14, 2021




                                                                                                           Page ! of 1
                        Registration #:   VA0002272273
                    Service Request #:    1-10837373080




New Alchemy Solutions Ltd.
Anna Katharina Reiter
Room 918, 9/F Nan Fung Centre 264-298 Castle Peak Road
Tsuen Wan
Hongkong, NT 00000
   COPY OF
REGISTRATION

  VA 2-272-075
                                                                               Registration Number

                                                                               VA 2-272-075
                                                                               Effective Date of Registration:
                                                                               September 14, 2021
                                                                               Registration Decision Date:
                                                                               October 19, 2021




Title

                       Title of Work:     Dragons Lair


Completion/Publication
              Year of Completion:         2008
           Date of Ist Publication:       March 01, 2008
          Nation of 1* Publication:       United Kingdom

Author

                  °            Author:    Anne Stokes
                      Author Created:     2-D artwork
                            Citizen of:   United Kingdom

Copyright Claimant

                Copyright Claimant:       Anne Stokes
                                          1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                          United Kingdom




Certification

                                Name:     Anna Katharina Reiter
                                 Date:    September 14, 2021
ee                                ee                                                   a




                                                                                                           Page 1 of I
                       Registration #:   VA0002272075
                   Service Request #:    1-10837373195




New Alchemy Solutions Ltd.
Anna Katharina Reiter
Room 918, 9/F Nan Fung Centre 264-298 Castle Peak Road
Tsuen Wan
Hongkong, NT 00000
   COPY OF
REGISTRATION

  VA 2-272-041
                                                                               Registration Number

                                                                               VA 2-272-041
                                                                               Effective Date of Registration:
                                                                               September 14, 2021
                                                                               Registration Decision Date:
                                                                               October 19, 2021




Title

                       Title of Work:     Pirate Skull


Completion/Publication
              Year of Completion:         2011
           Date of 1st Publication:       March 01, 2011
         Nation of 1" Publication:        United Kingdom

Author
                  °            Author:    Anne Stokes
                      Author Created:     2-D artwork
                            Citizen of:   United Kingdom

Copyright Claimant

                Copyright Claimant:       Anne Stokes
                                          1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                          United Kingdom




Certification

                                Name:     Anna Katharina Reiter
                                 Date:    September 14, 2021




                                                                                                           Page | of |
                       Registration #:   VA0002272041
                   Service Request #:    1-10837431985




New Alchemy Solutions Ltd.
Anna Katharina Reiter
Room 918, 9/F Nan Fung Centre 264-298 Castle Peak Road
Tsuen Wan
Hongkong, NT 00000
Anne   Stokes   -   www.annestokes.com
   COPY OF.
REGISTRATION

  VA 2-271-652
                                                                               Registration Number

                                                                               VA 2-271-652
                                                                               Effective Date of Registration:
                                                                               September 14, 2021
                                                                               Registration Decision Date:
                                                                               October 18, 2021




Title

                       Title of Work:     Gothic Guardian


Completion/Publication
               Year of Completion:        2010
            Date of 1st Publication:      March 01, 2010
          Nation of 1* Publication:       United Kingdom

Author

                  e            Author:    Anne Stokes
                      Author Created:     2-D artwork
                            Citizen of:   United Kingdom

Copyright Claimant

                Copyright Claimant:       Anne Stokes
                                          1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                          United Kingdom




Certification

                                Name:     Anna Katharina Reiter
                                  Date:   September 14, 2021




                                                                                                           Page | of |
                       Registration #;   VA0002271652
                   Service Request #:    1-10837431880




New Alchemy Solutions Ltd.
Anna Katharina Reiter
Room 918, 9/F Nan Fung Centre 264-298 Castle Peak Road
Tsuen Wan
Hongkong, NT 00000
© Anne Stokes -   w   Pl alalseiee) <ecmae) eal
   COPY OF
REGISTRATION

  VA 2-272-043
                                                                                Registration Number

                                                                                VA 2-272-043
                                                                                Effective Date of Registration:
                                                                                September 14, 2021
                                                                                Registration Decision Date:
                                                                                October 19, 2021




Title

                       Title of Work:     © Unicom Heart


Completion/Publication
                Year of Completion:        2010
            Date of Ist Publication:       March 01, 2010
          Nation of 1* Publication:        United Kingdom

Author

                  °            Author:     Anne Stokes
                      Author Created:      2-D artwork
                            Citizen of:    United Kingdom

Copyright Claimant

                Copyright Claimant:        Anne Stokes
                                           1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                           United Kingdom




Certification

                                Name:      Anna Katharina Reiter
                                 Date:     September 14, 2021
ee                                        a                                                        ee




                                                                                                            Page | of |
                       Registration #:   VA0002272043
                   Service Request #:    1-10837432225




New Alchemy Solutions Ltd.
Anna Katharina Reiter
Room 918, 9/F Nan Fung Centre 264-298 Castle Peak Road
Tsuen Wan
Hongkong, NT 00000
aSe a   ee   a   ee
   COPY OF
REGISTRATION

  VA 2-271-518
                                                                               Registration Number

                                                                               VA 2-271-518
                                                                               Effective Date of Registration:
                                                                               September 14, 2021
                                                                               Registration Decision Date:
                                                                               October 18, 202]




Title
                       Title of Work:     Woodland Guardian


Completion/Publication
               Year of Completion:        2008
            Date of Ist Publication:      March 01, 2008
          Nation of 1* Publication:       United Kingdom

Author

                  e            Author:    Anne Stokes
                      Author Created:     2-D artwork
                            Citizen of:   United Kingdom

Copyright Claimant

                Copyright Claimant:       Anne Stokes
                                          1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                          United Kingdom




Certification

                                          Anna Katharina Reiter
                                          September 14, 2021




                                                                                                             Page | of 1
                       Registration #:   VA0002271518
                   Service Request #:    1-10837406890




New Alchemy Solutions Ltd.
Anna Katharina Reiter
Room 918, 9/F Nan Fung Centre 264-298 Castle Peak Road
Tsuen Wan
Hongkong, NT 00000
   COPY OF
REGISTRATION

  VA 2-271-514
                                                                              Registration Number

                                                                              VA 2-271-514
                                                                              Effective Date of Registration:
                                                                              September 14, 2021
                                                                              Registration Decision Date:
                                                                              October 18, 2021




Title

                       Title of Work:    Glimpse of a Unicorn


Completion/Publication
                Year of Completion:      2010
           Date of Ist Publication:      March 01, 2010
         Nation of 1* Publication:       United Kingdom

Author

                  °           Author:    Anne Stokes
                      Author Created:    2-D artwork
                           Citizen of:   United Kingdom

Copyright Claimant

                Copyright Claimant:      Anne Stokes
                                         1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                         United Kingdom




Certification

                                         Anna Katharina Reiter
                                         September 14, 2021




                                                                                                          Page | of 1
                       Registration #:   VA0002271514
                   Service Request #:    1-10837407235




New Alchemy Solutions Ltd.
Anna Katharina Reiter
Room 918, 9/F Nan Fung Centre 264-298 Castle Peak Road
Tsuen Wan
Hongkong, NT 00000
© Anne   Stokes - www.annestokes/com
     COPY OF
_ REGISTRATION
    VA 2-272-210
                                                                              Registration Number
                                                                              VA 2-272-210
                                                                              Effective Date of Registration:
                                                                              September 14, 2021
                                                                              Registration Decision Date:
                                                                              October 20, 2021




Title
                       Title of Work:    Skull Embrace


Completion/Publication
               Year of Completion:       2007
            Date of Ist Publication:     March 01, 2007
          Nation of 1* Publication:      United Kingdom

Author

                  e           Author:    Anne Stokes
                      Author Created:    2-D artwork
                           Citizen of:   United Kingdom

Copyright Claimant

                Copyright Claimant:      Anne Stokes
                                         1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                         United Kingdom




Certification

                                         Anna Katharina Reiter
                                         September 14, 2021




                                                                                                            Page | of |
                       Registration #:   VA0002272210
                   Service Request #:    1-10837432070




New Alchemy Solutions Ltd.
Anna Katharina Reiter
Room 918, 9/F Nan Fung Centre 264-298 Castle Peak Road
Tsuen Wan
Hongkong, NT 00000
© Anne Stokes - www.annestokes.com
Certificate of Registration




                                                                                                                                        ' AE
                            This Certificate issued under the seal of the Copyright
                 3          Office in accordance with title 17, United States Code,
              gNe               attests that registration has been made for the work
                     Ca
                                identified below. The information on this certificate has   Registration Number
                                been made a part of the Copyright Office records.           VA 2-329-205
 3 28
    ——"4 Z As                      Vio               Vib nur
                                                                                            Effective Date of Registration:
                                                                                            November 23, 2022
                                                                                            Registration Decision Date:
                                United States Register of Copyrights and Director           November 30, 2022




    Title

                                  Title of Work:     — Celtic Dragon 1


        Completion/Publication
                          Year of Completion:          2005
                       Date of Ist Publication:        March 01, 2005
                     Nation of 1 Publication:          United Kingdom

        Author

                            °             Author:      Anne Stokes
                                 Author Created:       2-D artwork
                                       Citizen of:     United Kingdom


        Copyright Claimant

                          Copyright Claimant:          Anne Stokes
                                                       1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                       United Kingdom




        Certification

                                            Name:      Anna Katharina Reiter
                                             Date:     November 23, 2022



                                Correspondence:        Yes




                                                                                                                          Page | of 1
Celtic Dragon 1
Certificate of Registration
                         This Certificate issued under the seal of the Copyright
                         Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has   Registration Number
                         been made a part of the Copyright Office records.
                                                                                     VA 2-329-166
                                                                                     Effective Date of Registration:
                                                                                     November 30, 2022
                                                                                     Registration Decision Date:
                         United States Register of Copyrights and Director           November 30, 2022




   Title
                           Title of Work:      Celtic Dragon 2


   Completion/Publication
                  Year of Completion:          2005
               Date of Ist Publication:        March 01, 2005
             Nation of 1° Publication:         United Kingdom

   Author

                     °             Author:     Anne Stokes
                          Author Created:      2-D artwork
                                Citizen of:    United Kingdom


   Copyright Claimant

                   Copyright Claimant:         Anne Stokes
                                               1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                               United Kingdom




   Certification

                                     Name:     Anna Katharina Reiter
                                      Date:    November 30, 2022




                                                                                                                 Page | of 1
Celtic Dragon
Celtic Dragon 2
              2
Certificate of Registration
                         This Certificate issued under the seal of the Copyright
                         Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has   Registration Number
                         been made a part of the Copyright Office records.
                                                                                     VA 2-328-699
                                                                                     Effective Date of Registration:
                                                                                     November 23, 2022
                                                                                     Registration Decision Date:
                         United States Register of Copyrights and Director           November 25, 2022




   Title

                           Title of Work:     — Fire Dragon


   Completion/Publication
                 Year of Completion:            2016
              Date of Ist Publication:          March 01, 2016
             Nation of 1* Publication:          United Kingdom

   Author

                     °             Author:      Anne Stokes
                          Author Created:       2-D artwork
                                Citizen of:     United Kingdom


   Copyright Claimant

                   Copyright Claimant:          Anne Stokes
                                                1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                United Kingdom




   Certification

                                     Name:      Anna Katharina Reiter
                                      Date:     November 23, 2022



                         Correspondence:        Yes




                                                                                                                   Page 1 of 1
Certificate of Registration
                     This Certificate issued under the seal of the Copyright
                     Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has   Registration Number
                         been made a part of the Copyright Office records.           VA     2-328-705
                                                                                     Effective Date of Registration:
                             hin               (Vib mucin                            November 23, 2022
                                                                                     Registration Decision Date:
                         United States Register of Copyrights and Director           November 25, 2022




   Title
                           Title of Work:      Dragon Beauty


   Completion/Publication
                 Year of Completion:           2011
              Date of Ist Publication:         March 01, 2011
             Nation of 1° Publication:         United Kingdom

   Author

                     e            Author:      Anne Stokes
                          Author Created:      2-D artwork
                                 Citizen of:   United Kingdom

   Copyright Claimant

                   Copyright Claimant:         Anne Stokes
                                               1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                               United Kingdom




   Certification

                                     Name:     Anna Katharina Reiter
                                      Date:    November 23, 2022



                         Correspondence:       Yes




                                                                                                                   Page | of 1
                                                                                                                                                                                                                                                               EEE

                                                                                                                                                                                                                                                           A
                                                                                                                                                                                                                                                           c
                                                                                                                                                                                                                                                               IS
                                                                                                                                                                                                                                                               Sn




J
\




    |




On
        b
        4




a ete
        in}
        be
        re
        Ce 4
        '

    th}
        et.




        Lay
        we




A           |

            r
                ’




                                                                                                                                        eee
                                                                     :                                                                                                  '           ,    >        -
                                                              ee     ~~                                        tie               ale    .                                                     -
                                                                          “   <=   ey   |   atte   foe   es   ag     pers   ee    aad       “a   BO   9   OT   Pe   REIGATE   TEE   WE   Le   OREO    “   a   st Ts os   ee,   ee   ee   -   ws   os   -
                    <   At   Se   OE   Pe   ORES   EAE   me    OPO
Certificate of Registration
                                    This Certificate issued under the seal of the Copyright
                                    Office in accordance with title 17, United States Code,
                                    attests that registration has been made for the work
                                    identified below. The information on this certificate has   Registration Number
                                    been made a part of the Copyright Office records.           VA     2-328-704
                         °
                     %
 Bes :        ao >                         i:                                                   Effective Date of Registration:
     S-1g70°7                           hia              Vib      multr                         November 23, 2022
                                                                                                Registration Decision Date:
                                    United States Register of Copyrights and Director           November 25, 2022




     Title

                                       Title of Work:     Water Dragon


     Completion/Publication
                              Year of Completion:         2006
                           Date of Ist Publication:       March 01, 2006
                         Nation of 1% Publication:        United Kingdom

     Author

                                e             Author:     Anne Stokes
                                     Author Created:      2-D artwork
                                           Citizen of:    United Kingdom


     Copyright Claimant

                             Copyright Claimant:          Anne Stokes
                                                          1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                          United Kingdom




     Certification

                                                Name:     Anna Katharina Reiter
                                                 Date:    November 23, 2022




                                                                                                                              Page 1 of 1
Certificate of Registration
  go STATES,             This Certificate issued under the seal of the Copyright
      =                  Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has   Registration Number
                         been made a part of the Copyright Office records.
                                                                                     VA 2-328-698

                    A hiia. (Lilie
                                                                                     Effective Date of Registration:
                                                                                     November 23, 2022
                                                                                     Registration Decision Date:
                         United States Register of Copyrights and Director           November 25, 2022




   Title

                           Title of Work:     — Prayer for the Fallen


   Completion/Publication
                   Year of Completion:          2010
                Date of Ist Publication:        March 01, 2010
               Nation of 1* Publication:        United Kingdom

   Author

                     °             Author:      Anne Stokes
                          Author Created:       2-D artwork
                                Citizen of:     United Kingdom


   Copyright Claimant

                   Copyright Claimant:          Anne Stokes
                                                1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                United Kingdom




   Certification

                                     Name:      Anna Katharina Reiter
                                      Date:     November 23, 2022



                         Correspondence:        Yes




                                                                                                                   Page | of 1
Certificate of Registration
                         This Certificate issued under the seal of the Copyright
                         Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has   Registration Number
                         been made a part of the Copyright Office records,
                                                                                     VA 2-328-696

                   AK hiia. (Vilna
                                                                                     Effective Date of Registration:
                                                                                     November 23, 2022
                                                                                     Registration Decision Date:
                         United States Register of Copyrights and Director           November 25, 2022




   Title

                            Title of Work:     Spellbound


   Completion/Publication
                   Year of Completion:         2009
              Date of Ist Publication:         March 01, 2009
             Nation of 1* Publication:         United Kingdom

   Author

                     °             Author:     Anne Stokes
                          Author Created:      2-D artwork
                                Citizen of:    United Kingdom


   Copyright Claimant

                   Copyright Claimant:         Anne Stokes
                                               1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                               United Kingdom




   Certification

                                     Name:     Anna Katharina Reiter
                                      Date:    November 23, 2022



                         Correspondence:       Yes




                                                                                                                   Page 1 of 1
Certificate of Registration




                                                                                                                                           exe
                                  This Certificate issued under the seal of the Copyright
                 i                Office in accordance with title 17, United States Code,
             \ 3                  attests that registration has been made for the work
                     a            identified below. The information on this certificate has    Registration Number
                     5            been made a part of the Copyright Office records.
                                                                                               VA 2-328-703
            n>                                                                                 Effective Date of Registration:
                            Khia.                     I   Vibnitlen                            November 23, 2022
                                                                                               Registration Decision Date:
                                  United States Register of Copyrights and Director            November 25, 2022




   Title

                                     Title of Work:       Midnight Messenger


   Completion/Publication
                            Year of Completion:           2011
                         Date of Ist Publication:         March 01, 2011
                     Nation of 1% Publication:            United Kingdom

   Author

                              °              Author:      Anne Stokes
                                   Author Created:        2-D artwork
                                          Citizen of:     United Kingdom


   Copyright Claimant

                           Copyright Claimant:            Anne Stokes
                                                          1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                          United Kingdom




   Certification

                                              Name:       Anna Katharina Reiter
                                               Date:      November 23, 2022



                                  Correspondence:         Yes




                                                                                                                             Page 1 of 1
Certificate of Registration
                         This Certificate issued under the seal of the Copyright
                         Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has   Registration Number
                         been made a part of the Copyright Office records.
                                                                                     VA 2-328-702

            ” Min. Pull
                                                                                     Effective Date of Registration:
                                                                                     November 23, 2022
                                                                                     Registration Decision Date:
                         United States Register of Copyrights and Director           November 25, 2022




   Title

                            Title of Work:     Copperwing


   Completion/Publication
                  Year of Completion:          2011
               Date of Ist Publication:        March 01, 2011
             Nation of 1*t Publication:        United Kingdom

   Author

                     e             Author:     Anne Stokes
                          Author Created:      2-D artwork
                                Citizen of:    United Kingdom


   Copyright Claimant

                   Copyright Claimant:         Anne Stokes
                                               I Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                               United Kingdom




   Certification

                                     Name:     Anna Katharina Reiter
                                      Date:    November 23, 2022



                         Correspondence:       Yes




                                                                                                                 Page | of 1
Certificate of Registration
   op STATES                           This Certificate issued under the seal of the Copyright
  c¥            Ka)                        arr                 :   .        rot           +
                      oO,              Office in accordance with title 17, United States Code,
               PP                      attests that registration has been made for the work
                                       identified below. The information on this certificate has   Registration Number




                ” Mein Ptlnactoe
                                       been made a part of the Copyright Office records.
                                                                                                   VA 2-328-701
                                                                                                   Effective Date of Registration:
                                                                                                   November 23, 2022
                                                                                                   Registration Decision Date:
                                       United States Register of Copyrights and Director           November 25, 2022




       Title

                                          Title of Work:     Forest Walk



       Completion/Publication
                                 Year of Completion:         2009
                              Date of Ist Publication:       March 01, 2009
                            Nation of 1 Publication:         United Kingdom

       Author

                                   °             Author:     Anne Stokes
                                        Author Created:      2-D artwork
                                               Citizen of:   United Kingdom


       Copyright Claimant

                                Copyright Claimant:          Anne Stokes
                                                             1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                             United Kingdom




       Certification

                                                   Name:     Anna Katharina Reiter
                                                    Date:    November 23, 2022



                                       Correspondence:       Yes




                                                                                                                               Page | of 1
Certificate of Registration
                            This Certificate issued under the seal of the Copyright
                 ‘          Office in accordance with title 17, United States Code,
            A\              attests that registration has been made for the work
                     a      identified below. The information on this certificate has   Registration Number
                     s      been made a part of the Copyright Office records.
                                                                                        VA 2-328-700

            ” htia Padaictlem
                                                                                        Effective Date of Registration
                                                                                        November 23, 2022
                                                                                        Registration Decision Date:
                            United States Register of Copyrights and Director           November 25, 2022




   Title

                               Title of Work:      Realm of Enchantment



   Completion/Publication
                          Year of Completion:      2014
                       Date of Ist Publication :   March 01, 2014
                     Nation of 1 Publication:      United Kingdom

   Author

                                       Author:     Anne Stokes
                              Author Created:      2-D artwork
                                    Citizen of:    United Kingdom


   Copyright Claimant

                         Copyright Claimant:       Anne Stokes
                                                   1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                   United Kingdom




   Certification

                                         Name:     Anna Katharina Reiter
                                          Date:    November 23, 2022



                             Correspondence:       Yes




                                                                                                                    Page 1 of 1
Certificate of Registration
                     This Certificate issued under the seal of the Copyright
                     Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has    Registration Number
                         been made a part of the Copyright Office records.            VA     2-328-695

                                    fF                                                Effective Date of Registration:

                                                                                      Registration Decision Date:
                         United States Register of Copyrights and Director            November 25, 2022




   Title
                           Title of Work:        Soul Bond



   Completion/Publication
                   Year of Completion:           2017
              Date of Ist Publication:           March 01, 2017
            Nation of 1% Publication:            United Kingdom

   Author

                     °             Author:       Anne Stokes
                          Author Created:        2-D artwork
                                Citizen of:      United Kingdom


   Copyright Claimant

                   Copyright Claimant:           Anne Stokes
                                                 1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                 United Kingdom




   Certification

                                     Name:       Anna Katharina Reiter
                                         Date:   November 23, 2022



                         Correspondence:         Yes




                                                                                                                    Page 1 of 1
Certificate of Registration
                                     This Certificate issued under the seal of the Copyright
                                     Office in accordance with title 17, Untted States Code,
                      \e             attests that registration has been made for the work
                           3         identified below. The information on this certificate has   Registration   Number


 \ Sage
                           a         been made a part of the Copyright Office records.
                                                                                                 VA 2-348-535

                                Khai. (Wbnille
  >    eS            <>                                                                          Effective Date of Registration:
  Pe            a?
      Syrg7o:                                                                                    May 23, 2023
                                                                                                 Registration Decision Date:
                                     United States Register of Copyrights:and Director           May 23,2023




      Title

                                       Title of Work:      Immortal Flight


      Completion/Publication
                               Year of Completion:         2009
                            Date of Ist Publication:       November 01, 2009
                          Nation of 1* Publication:        United Kingdom

      Author

                                 e            Author: | Anne Stokes
                                     Author Created:    2-D artwork
                                           Citizen of:  United Kingdom


      Copyright Claimant

                               Copyright Claimant:         Anne Stokes
                                                           1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                           United Kingdom




      Certification

                                                 Name:     —Anna Katharina Reiter
                                                  Date:    May 23, 2023



                                     Correspondence:       Yes




                                                                                                                               Page 1 of 1
Certificate of Registration
                         This Certificate issued under the seal of the Copyright
                         Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has   Registration Number
                         been made a part of the Copyright Office records.           VA     9-348-533
                                                                                     Effective Date of Registration:

                                                                                     Registration Decision Date:
                         United States Register of Copyrights and Director           May 23, 2023




   Title

                           Title of Work:      Lost Soul



   Completion/Publication
                 Year of Completion:           2005
              Date of Ist Publication:         July 01, 2005
             Nation of 1% Publication:         United Kingdom

   Author

                     °            Author:       Anne Stokes
                         Author Created:        2-D artwork
                               Citizen of:    | United Kingdom


   Copyright Claimant

                   Copyright Claimant:        _ Anne Stokes
                                                1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                United Kingdom




   Certification

                                     Name:     Anna Katharina Reiter
                                      Date:    May 23, 2023



                         Correspondence:       Yes




                                                                                                                   Page 1 of |
